                 Case 04-19148-RG             Doc 1-3 Filed 03/18/04 Entered 03/18/04 00:43:28                          Desc
                                                Verification of Matrix Page 1 of 1




                                              UNITED STATES BANKRUPTCY COURT
                                                      District of New Jersey


        In re    GEO Specialty Chemicals, Inc.                        ,
                                                    Debtor                         Case No.

                                                                                   Chapter      11



                                              VERIFICATION OF LIST OF CREDITORS


                I hereby certify under penalty of perjury that the attached List of Creditors which consists of 1 page, is true,

        correct and complete to the best of my knowledge.



                  March 18, 2004                                               /s/ William P. Eckman
        Date                                                   Signature
                                                                               WILLIAM P. ECKMAN,
                                                                               Exec. V.P., Chief Financial Officer




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